                      IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF NORTH CAROLINA

                                          )
 BOBBY SNIPES,                            )
                                          )             Civil Action No.: 1:25-cv-414
       Plaintiff,                         )
                                          )
 v.                                       )
                                          )
 ABILITY RECOVERY                         )
 SERVICES, LLC, and                       )
 WALDEN UNIVERSITY, LLC,                  )
                                          )
       Defendants.

                        NOTICE OF VOLUNTARY DISMISSAL


       Comes now the Plaintiff by and through counsel, pursuant to Rule 41 of the Federal

Rules of Civil Procedure, and does hereby VOLUNTARILY DISMISS his complaint

WITHOUT PREJUDICE.


                                                       Bobby Snipes,

                                                       BY COUNSEL,

BY:      /s/ Benjamin Sheridan

          Benjamin M. Sheridan (N.C. Bar No.: 52734)
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